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                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK


MARVEL CHARACTERS, INC.,                       Case No.: 1:21-cv-7955-LAK
                                               and consolidated cases
Plaintiff and Counterclaim-Defendant,          21-cv-7957-LAK and 21-cv-7959-LAK

v.                                             Hon. Lewis A. Kaplan

LAWRENCE D. LIEBER,                            MEMORANDUM OF LAW IN
                                               SUPPORT OF MOTION FOR
Defendant and Counterclaimant.                 SUMMARY JUDGMENT BY
                                               PLAINTIFF AND COUNTERCLAIM-
                                               DEFENDANT MARVEL
                                               CHARACTERS, INC.

                                                   Oral Argument Requested
MARVEL CHARACTERS, INC.,

Plaintiff and Counterclaim-Defendant,

v.

KEITH A. DETTWILER, in his capacity as
Executor of the Estate of Donald L. Heck,

Defendant and Counterclaimant.


MARVEL CHARACTERS, INC.,

Plaintiff and Counterclaim-Defendant,

v.

PATRICK S. DITKO, in his capacity as
Administrator of the Estate of Stephen J.
Ditko,

Defendant and Counterclaimant.
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                                 PRELIMINARY STATEMENT

         This case concerns whether Marvel Characters, Inc. (“MCI”) can be divested of its future

rights under domestic copyright law to stories and characters within the Marvel universe simply

because the late artist Stephen “Steve” Ditko did exactly what Marvel1 hired him to do: make

creative contributions to Marvel’s comic book series under Marvel’s supervision and control in

return for fixed per-page compensation. The record is replete with uncontradicted evidence

establishing that Steve Ditko worked under the direction of Stan Lee, Marvel’s editor-in-chief,

and subject to Lee’s editorial discretion. In fact, he chafed under Lee’s control and ultimately

left the company in pursuit of greater artistic independence. Not surprisingly, then, Steve Ditko

never claimed to own any of the contributions he made to Marvel comics. To the contrary, he

affirmatively admitted that he was not—in his own words—the “legal creator” of the works to

which he contributed. Only after Steve Ditko passed away a few years ago did Defendant

attempt to claim otherwise.

         Defendant is Patrick Ditko, the brother of Steve Ditko and administrator of his estate. He

seeks to invoke the special process established by the Copyright Act of 1976 to enable authors

and heirs to terminate certain prior grants of copyright. Patrick Ditko has filed termination

notices (the “Notices”) as to copyrights in stories and characters to which Steve Ditko

contributed while working for Marvel (the “Works”).

         The Notices are legally invalid because the 1976 Act’s copyright termination regime does

not apply to works “made for hire,” including the Works to which Steve Ditko contributed.

When a work is made for hire, the artist does not “grant” the copyright; rather, the hiring party is

the statutory “author” ab initio. As a result, in the case of a work made for hire, there is no prior


   1
       As the term is used herein, “Marvel” refers to MCI and its predecessors and affiliates.


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“grant” of copyright that can be later subject to termination. Indeed, Defendant himself does not

actually have any of the purported “grants” of copyright from Steve Ditko to Marvel.

         Settled law dooms Defendant’s termination efforts, just as it has doomed previous

termination efforts aimed at other Marvel characters and stories, including those created by the

great Jack Kirby. Despite the widely-recognized significance of Kirby’s contributions, this

District and the Second Circuit correctly held that because he did his work at Marvel’s

“instance” and at Marvel’s “expense,” the creations were all works for hire under the controlling

test and thus not subject to the termination regime. See Marvel Characters, Inc. v. Kirby, 726

F.3d 119, 140-43 (2d Cir. 2013). Exactly the same is true for Steve Ditko’s contributions.

         In fact, as one-sided as the Kirby record was, MCI’s case here is even stronger.

         As the evidence conclusively shows, Ditko’s contributions—like Kirby’s—were made at

the direction and under the supervision of Marvel (generally through editor Stan Lee), to fit

within the needs of Marvel’s growing comic book publishing business, for a preset per-page

compensation rate, in the course of a longstanding working relationship. Marvel assigned the

freelance talent, determining who would script, pencil, ink, letter, and color each book. And

ultimately, it was Marvel that bore the financial risk of whether a comic book made or lost

money.

         In Kirby, on essentially the same facts, Marvel was granted summary judgment and a

declaration that the artist’s heirs’ termination notices were invalid. As in Kirby, the undisputed

evidence here demonstrates that the Works at issue were made for hire at Marvel’s instance and

expense outside the copyright termination statutes. As in Kirby, Marvel’s motion for summary

judgment should be granted.




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    THE COPYRIGHT TERMINATION REGIME AND WORKS MADE FOR HIRE

       Under Section 304(c) of the 1976 Copyright Act, authors or specified heirs can terminate

prior “grants” of domestic copyrights made for pre-1978 works under limited circumstances. 17

U.S.C. § 304(c). The copyright in a work “made for hire,” however, is not eligible for

termination. Kirby, 726 F.3d at 137; see also 17 U.S.C. § 304(c) (limiting the statutory

termination right to copyrights “other than a copyright in a work made for hire”). When it is

determined that a work is made for hire, the hiring party is conclusively deemed to be the

“author” of the work, even though the artist or “hired party” might be described as “the ‘author’

in the colloquial sense.” Kirby, 726 F.3d at 137; see also Martha Graham Sch. & Dance Found.,

Inc. v. Martha Graham Ctr. of Contemp. Dance, Inc., 380 F.3d 624, 634 (2d Cir. 2004). As a

result, the hired party “never owned the copyrights” in the first place. Kirby, 726 F.3d at 137.

       Although the termination right was established in the Copyright Act of 1976, it is the

Copyright Act of 1909 that governs whether pre-1978 works (like those at issue here) fall outside

the termination regime as works made for hire. Id. And for decades, the Second Circuit (like

other circuits) has applied the “instance and expense test” to determine whether a work was

made for hire under the 1909 Act. See id.; Martha Graham, 380 F.3d at 634-35; Playboy

Enters., Inc. v. Dumas, 53 F.3d 549, 554 (2d Cir. 1995).2 A work is created at an employer’s

“instance and expense” when the “motivating factor in producing the work was the employer

who induced the creation.” Playboy Enters., 53 F.3d at 554. The same analysis applies whether

the artist is an “employee” or an “independent contractor”—the sole issue is whether the work



   2
     See also, e.g., Markham Concepts, Inc. v. Hasbro, Inc., 1 F.4th 74, 83 (1st Cir. 2021), cert.
denied, 142 S. Ct. 1414 (2022); Twentieth Century Fox Film Corp. v. Entm’t Distrib., 429 F.3d
869, 878 (9th Cir. 2005), abrogated on other grounds by Rimini St., Inc. v. Oracle USA, Inc., 139
S. Ct. 873 (2019).


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was created at the hiring party’s “instance and expense.” See Est. of Burne Hogarth v. Edgar

Rice Burroughs, Inc., 342 F.3d 149, 156, 163 (2d Cir. 2003); Kirby, 726 F.3d at 124-26 (holding

that Kirby worked “for hire” even though he “was a freelancer, i.e., he was not a formal

employee of Marvel”). And the instance and expense test is satisfied if the hiring party “induces

the creation of the work and has the right to direct and supervise the manner in which the work is

carried out.” Kirby, 726 F.3d at 139.

        Instance refers to “the extent to which the hiring party provided the impetus for,

participated in, or had the power to supervise the creation of the work.” Id. “Actual creative

contributions or direction” by an employer “strongly suggest that the work [was] made at the

hiring party’s instance.” Id. In addition, the employer’s “power to reject” and to require a

“redo” or alteration of work—“a power it exercise[s] from time to time”—supports a finding that

the work was created at the hiring party’s instance. Id. at 141. And while the right to “direct and

supervise” is relevant, Playboy Enters., 53 F.3d at 554, the “instance” prong can be satisfied

even when that right is not actually exercised, Kirby, 726 F.3d at 139 (explaining that “prior

dealings between the parties on similar assignments, as part of an ongoing arrangement” may

have rendered employer’s “fine-grained supervision unnecessary”).

        The fact that an artist is a “self-motivator” who holds “remarkable sway” over the hiring

party’s decisions is “beside the point” under the instance and expense test. Martha Graham, 380

F.3d at 640. So too is the artist’s “ingenuity and acumen.” Kirby, 726 F.3d at 142. After all,

these very traits are bound to be “a substantial reason for the hiring party to have enlisted him” in

the first place. Id.

        Expense refers to the “resources the hiring party invests in the creation of the work.” Id.

at 139. When the hiring party “pays an independent contractor a sum certain for his or her




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work,” that arrangement favors satisfaction of the expense prong. Playboy Enters., 53 F.3d at

555. By contrast, “where the creator of a work receives royalties as payment, that method of

payment generally weighs against finding a work-for-hire relationship.” Id. The expense prong

also includes factors such as who bore the financial risk of creation and what monetary and non-

monetary resources the hiring party invested. In Kirby, the Second Circuit concluded that

“payment of a flat rate and [] contribution of both creative and production value” by the hiring

party was “enough to satisfy the expense requirement.” 726 F.3d at 143.

       When the instance and expense test is satisfied, the work is presumed to have been made

for hire. Playboy Enters., 53 F.3d at 554. To rebut that presumption, the artist or heirs must

“demonstrate by a preponderance of the evidence” the parties at the time entered into “a contrary

agreement” that the parties “intended a relationship other than work for hire.” Id. at 554-55, 557.

Any such contrary agreement must be “contemporaneous with the creation of the works.” Kirby,

726 F.3d at 143.

                                  THE UNDISPUTED FACTS

       The Notices are directed at Works that Marvel published from 1962 to 1966. (Statement

of Undisputed Facts (“SUF”) ¶¶ 3, 8.) The Works include the early appearances of such now-

iconic characters as Spider-Man and Doctor Strange. (SUF ¶¶ 8, 33, 44.)

       Promptly after each of the Works was created, Marvel filed copyright registrations for the

Works with the U.S. Copyright Office. (SUF ¶ 5.) Marvel likewise filed renewal copyright

registrations for each Work with the Copyright Office, with each Work identified as a work

made for hire and Marvel as its author.3 (SUF ¶ 6.) The express designation of the Works as



   3
     The Copyright Office’s renewal registration form included a new field for a “statement of
claim” by the renewal claimant—i.e., the basis for the registrant’s claim of rights in the work—
which did not exist on the standardized form for initial registrants for the class of works at issue


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made for hire is consistent with the undisputed facts concerning the creation of the Works, as

follows.

       A.      Marvel’s Owner And Editors Controlled Marvel’s Creative Process.

       Marvel owner and publisher Martin Goodman and editor-in-chief Stan Lee oversaw and

controlled the creation of Marvel’s comic books from conception through distribution for the

time period relevant to Defendant’s claims until 1972 when Stan Lee was promoted to publisher

and Roy Thomas replaced him as editor-in-chief. (SUF ¶¶ 9-30.) As publisher, Goodman was

the “ultimate boss.” (SUF ¶¶ 22, 30; Ex. 13 to Lens Decl.,4 Stan Lee Kirby Dep. Tr. 18:17-

19:17.) He approved Marvel’s comic book issues before they were published, and sometimes

nudged Marvel’s series in one direction or another to try to boost the company’s competitiveness

in the market. (SUF ¶¶ 22, 30.) If a comic book did not sell well, Goodman bore the loss, and it

was up to him to decide whether to cancel a series. (SUF ¶¶ 22, 52.)

       While Goodman oversaw the business at a high level, editors Stan Lee, and later Roy

Thomas, supervised the day-to-day operations. (SUF ¶¶ 9-22.) As editor, Stan Lee was

responsible for overseeing the creative direction and all other aspects of Marvel’s comic books,

characters, and stories. (SUF ¶¶ 10, 12-30, 32-35, 38, 40-42.) Stan Lee would seed new ideas,

supervise the creation process, and manage the contributors who would help bring the comic

book issues to life. (SUF ¶¶ 12-30, 32-35, 38, 40-42.) Stan Lee would also assign writers and

artists—including Steve Ditko—to contribute to specific Marvel comic books and would re-

assign artists and writers to different projects as he saw fit. (SUF ¶¶ 23, 32-33, 41-42.) Work for



at the time the Works were registered. It also contained a new field for identification of the
author.
   4
    All exhibit references denote exhibits to the Declaration of Molly M. Lens, filed
concurrently herewith.


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Marvel was done pursuant to job assignments from Marvel; during the relevant time period,

Marvel did not solicit or accept work “on spec.” (SUF ¶¶ 23, 32-33, 41-42, 48.)

       Not only did Stan Lee help manage the big picture of Marvel’s business operation, but

also he was deeply involved in the details of story after story. Stan Lee had primary

responsibility to formulate the main character and story ideas. (SUF ¶¶ 13, 24, 40.) From there,

he would typically give an artist or writer (when Lee was not himself writing the script) a

synopsis from which to draw panels or write out the narrative. (SUF ¶¶ 12-14, 24-25.)

       Under the Marvel Method, the artist (called a “penciller”) would begin drawing directly

from Lee’s plot, with the accompanying captions and dialogue to come later. (SUF ¶¶ 12-14, 24-

25.) While story and character ideas typically came from Marvel through Lee, part of a

contributor’s assignment on ongoing series was to propose new characters, plot elements, and

other details. (SUF ¶¶ 13, 24-25.) Marvel’s editors, though, had ultimate discretion on whether

and how to include those characters or plot elements. (SUF ¶¶ 25, 29-30.) And they could

demand edits to contributors’ work product as desired. (SUF ¶¶ 28-30.)

       Once the writing and artwork were finalized in pencil, Marvel assigned a letterer who

lettered the captions and dialogue, and an inker who went over the pencil drawings in ink. (SUF

¶¶ 16-17, 22.) Marvel sent these pages to an engraver, then to a colorist, and finally to the

printer. (SUF ¶¶ 16, 18-19, 22, 26.)

       Marvel had to reserve print times in advance, so it kept the various contributors to a tight

schedule. (SUF ¶¶ 21-22.) If contributors missed their deadlines, Marvel lost its print slot but

had to pay regardless, and therefore lost money. (SUF ¶¶ 21-22.) Marvel’s editors and

production manager coordinated among the many contributors to turn their isolated contributions

into a cohesive saleable work. (SUF ¶¶ 16-19, 21-22.) In contrast, Marvel’s freelance




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contributors—like Ditko—seldom communicated among one another, and indeed often did not

even know who would come next in the creation process. (SUF ¶ 20.)

       B.      Steve Ditko Worked On Assignment Under Stan Lee’s Control.

       Steve Ditko worked as a freelancer for Marvel when he made his contributions to the

Works. (SUF ¶¶ 2, 23; Ex. 54 at 4.) He worked extensively for Marvel from 1955 to 1965,

including a stretch from 1963 to 1965 during which he worked nearly exclusively for Marvel.5

(SUF ¶¶ 2, 45.) Like his peers, Ditko worked on assignment from Marvel and under Stan Lee’s

supervision and direction. (SUF ¶¶ 14, 22-30, 33-35, 38, 41-42.) Lee typically provided Ditko

with a synopsis for a story, from which Ditko would illustrate panels in greater detail. (SUF ¶¶

13-14, 23-24, 40-41.) After Ditko had the chance to read the synopsis, Lee and Ditko often

would go over it together to provide any clarification, consider further plot points, and so forth.

(SUF ¶¶ 15, 26.) Then Ditko would start drawing. (SUF ¶¶ 14-15.)

       Ditko was accorded some creative freedom in how Lee’s story would manifest on paper,

but Lee maintained ultimate control over the pages. As Ditko himself explained, once Ditko had

work to show, he and Lee “would go over the penciled story/art pages” together and, with Lee’s

consult, implement edits as needed. (SUF ¶¶ 15, 26, 28; Ex. 48 at 2.) Lee’s requested edits

could get quite granular—like replacing waffles with pancakes in a breakfast scene, or adjusting

the placement of a character’s hand. (SUF ¶¶ 26, 28; Ex. 29 at 3-4.) Others were more

significant, like reimagining a cover to depict Spider-Man leaping across a villain and off the

page instead of leaping towards the villain. (SUF ¶¶ 26, 28; Ex. 53 at 3.) Ditko could disagree

with Stan Lee’s editorial decisions, but ultimately Lee had the final say. (SUF ¶¶ 29-30; Ex. 54


   5
     The last Marvel comic book issues to which Ditko contributed, however, were published in
1966 due to the lag in the production process between when an artist turned in his penciled pages
and when the finalized issue was distributed.


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at 4.) Of course, Marvel could also go a step further and decide not to publish Ditko’s pages

altogether, but Marvel seldom opted to exercise that authority.6 (SUF ¶¶ 22, 27, 30; Ex. 13, Lee

Kirby Dep. Tr. 22:11-23:19.)

       After Ditko finished drawing and revising his assigned panels, Lee would input dialogue

and captions to bring together the story. (SUF ¶¶ 16, 46; Ex. 48 at 2.) And Lee would usher the

story through the remainder of the production process. (SUF ¶¶ 16-22; Ex. 7, Roy Thomas

Friedrich Dep. Tr. 201:24-203:16.) As Ditko explained, “Once I did the job, turned it in, got

paid, my involvement ended.” (SUF ¶ 20; Ex. 57 at 4.) Ditko often found himself dissatisfied

with Marvel’s choices—for example, Spider-Man’s coloration or Lee’s “corny captions” and

“‘humor’ dialogue”—but understood that such decisions fell well outside his domain as a

contributing artist. (SUF ¶ 29; Ex. 52 at 4; Ex. 58 at 3.)

       Overall, Stan Lee decided to give Ditko greater creative freedoms as compared to certain

other artists at Marvel—similar to how Marvel treated the prolific Jack Kirby. (SUF ¶ 47.) Lee

trusted Ditko, and Ditko, in turn, understood that Lee—the “only [writer] [he] ever worked

for”—had “many characters, titles to handle, write for.” (SUF ¶¶ 30, 47; Ex. 44 at 7; Ex. 59 at

3.) But to the extent Marvel’s treatment of Ditko and Kirby differed from its treatment of other

artists, it was only because they were among Marvel’s most experienced and skilled artists.

(SUF ¶¶ 45-47.) Ditko thus was “allowed to drift” from an assigned script, for example, much

like Kirby was allowed “a freer hand within th[e] [comic creation] framework than . . .

comparable artists.” Kirby, 726 F.3d at 126. (SUF ¶ 47; Ex. 45 at 8.) Yet the general



   6
     Even in the rare instances where Marvel did not use Ditko’s work—such as when it decided
against using Ditko’s Spider-Man cover and instead assigned the task to Kirby—there is no
evidence to suggest that Marvel did not pay Ditko in full for it. (SUF ¶ 50; Ex. 1, Patrick Ditko
Dep. Tr. 28:24-29:3.)


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parameters remained in place: Ditko always worked on assignment, and he was always subject

to the supervision and editorial control of Marvel. (SUF ¶¶ 14, 23-30, 33-35, 37-38.) Marvel, in

short, was in charge from start to finish.

       C.      Marvel Paid Ditko By The Page And Assumed The Financial Risk For Its
               Comic Books.

       Like Marvel’s other artists, Ditko was paid a per-page rate for his work. (SUF ¶¶ 49-50.)

The compensation for artists and writers was unaffected by a book’s sales. (SUF ¶¶ 50-52.) If a

comic book sold poorly, a contributing artist would be paid just the same—even if Marvel took a

net loss. (SUF ¶¶ 51-52.) And likewise if a comic book turned out to be a success. (SUF ¶¶ 51-

52.) In fact, Marvel did not even share sales figures with its artists; they had no financial interest

because they never received royalties. (SUF ¶¶ 51-52; Ex. 79 at 4.)

       D.      Ditko’s Work On Doctor Strange And Spider-Man Illustrates That He
               Worked At Marvel’s Instance and Expense.

       Ditko generated a large body of work, but his legacy centers on drawing Doctor Strange

and Spider-Man for Marvel. As with his other assignments, Ditko worked closely with Stan Lee

and at his behest with respect to both characters.

       Ditko began regularly contributing to a Marvel series entitled Strange Tales in 1956, with

Ditko working on all 79 issues from February 1959 (Strange Tales #67) to July 1966 (Strange

Tales #146). (SUF ¶ 31.) As part of his ongoing work on the Strange Tales series and for

Marvel more generally, Ditko penciled and inked the first Doctor Strange story, which was

dialogued, captioned, and “rush[ed]” out by Lee as a “5-page filler,” i.e., a short and shallow

story intended mostly to take up unused space in the comic book. (SUF ¶¶ 32-33; Ex. 27 at 2.)

Lee chose the name “Doctor Strange” for the character because the story was published in

Marvel’s Strange Tales series and to avoid confusion with “Mr. Fantastic,” another Marvel

Super Hero. (SUF ¶ 34.)


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       The Doctor Strange character first appeared in Strange Tales, Vol. 1, No. 110, published

with a cover date of July 1963. (SUF ¶ 33; Ex. 25 at 11; Ex. 31E at 2-4.) Doctor Strange first

appeared without a backstory—after all, the character was just filler. (SUF ¶ 35.) But fan mail

soon urged the publication of a backstory, and Marvel eventually responded by giving Doctor

Strange a more complete personality and origin story in Strange Tales, Vol. 1, No. 115. (SUF ¶

35.) That origin story—Doctor Strange was revealed to be a doctor who underwent a series of

tests in Tibet and developed mystical abilities to combat magical forces—actually recycled the

essence of another Marvel character named Doctor Droom that Marvel had introduced years

prior in another series. (SUF ¶ 36.) Exactly like Doctor Strange, Doctor Droom was a doctor

who underwent a series of tests in Tibet and developed mystical abilities to combat magical

forces. (SUF ¶ 36.) But the Doctor Droom character “was a one-shot thing,” so the material was

ripe for Marvel to repurpose. (SUF ¶ 36; Ex. 41 at 8.) From that foundation, Doctor Strange

developed into the modern character.

       Ditko routinely penciled the early Doctor Strange stories, but Lee and others handled

much of the plotting and writing—to Ditko’s chagrin. Although the Doctor Strange character

proved to have longevity, Ditko was often dissatisfied by the way the stories were produced;

Ditko had no control over what he perceived as “poor plots by Stan [Lee],” the formulaic

“haunted house[]” stories that Lee scripted for Doctor Strange, the “incompetent inkers” who

broke from his vision, and the lack of a “consistent look” due to the revolving door of inkers who

drew over Ditko’s pencils. (SUF ¶¶ 29, 36-37; Ex. 55 at 4; Ex. 59 at 3; Ex. 60 at 3.) Indeed,

Ditko was never even permitted to draw the cover art for a Doctor Strange story; Lee hand-

selected other Marvel artists to carry that responsibility, which played a key role in how well a

book would sell. (SUF ¶ 38.)




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       Ditko’s contributions to Spider-Man further illustrate how he worked under Marvel’s

control. Marvel launched the 15-issue Amazing Adventures7 comic book series in 1961, with

Ditko contributing to every issue alongside Stan Lee and Jack Kirby. (SUF ¶ 32.) In 1962, Lee

had conceived of an idea for the ongoing Amazing Fantasy series: a new character named

Spider-Man, who was a realistic and nerdy teenage hero with the ability to stick to walls and

ceilings like an insect. (SUF ¶¶ 40-41.) This new character first appeared in Amazing Fantasy,

Vol. 1, No. 15, published in the summer of 1962. (SUF ¶ 40; Ex. 25 at 3; Ex. 31A at 2-3.)

       Ditko was not the first artist that Stan Lee assigned to draw Spider-Man. (SUF ¶ 41.)

Jack Kirby was, but when Lee saw Kirby’s initial pencil drawings, he decided that Kirby was the

wrong man for the job. (SUF ¶ 41.) Kirby, who was known to “glamorize[] everything,” had

drawn a version of Spider-Man that looked “a little bit too heroic” for Lee. (SUF ¶ 41; Ex. 13,

Lee Kirby Dep. Tr. 37:3-38:3.) Lee’s vision—a “wimpy,” “nerdy,” and relatable teenage hero—

was just “n[o]t Jack’s style.” (SUF ¶¶ 40-41; Ex. 13, Lee Kirby Dep. Tr. 75:9-23.)

       So Lee paid Kirby for his work, took him off the comic, and reassigned him to other

books. (SUF ¶ 41; Ex. 10, Lee Kirby Dep. Tr. 376:3-15.) Lee replaced Kirby with Ditko, which

proved a better match. (SUF ¶ 41.) Ditko’s art had “that kind of awkward feeling” that was

“just right for Spider-Man.” (Ex. 13, Lee Kirby Dep. Tr. 75:9-23.) But while Lee accepted

Ditko’s work on the interior Spider-Man pages, Lee then decided not to use Ditko’s cover art.

(SUF ¶¶ 41-42.) Instead, Lee assigned the cover art back to Kirby, leaving the final artwork for

the comic book an amalgamation of the two artists’ work.8 (SUF ¶ 42.) Spider-Man would soon


   7
     The series was renamed Amazing Adult Fantasy for issue seven, then Amazing Fantasy for
issue fifteen. (SUF ¶ 39.)
   8
      Notably, Jack Kirby’s heirs also served a copyright termination notice as to this issue of
Amazing Fantasy, but that notice was held invalid because Kirby’s contributions to it were made
for hire. Kirby, 726 F.3d at 143. (Ex. 77.)


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become an unexpected hit, and, based on assignments from Lee, Ditko would go on to draw

many more issues. (SUF ¶¶ 43-44.)

       Ditko was never satisfied with his role, lamenting that “Stan [Lee]’s writing style was

completely wrong for SM [Spider-Man],” though he had no choice but to acquiesce to Marvel’s

editorial decisions. (SUF ¶ 29; 54 at 4.) Ditko thought that “Stan [Lee’s] ‘humor’ dialogue

undercut Peter Parker,” that Lee’s style prevented the teenage hero from “more serious growth”

as a character, and that Lee pandered too much to the comic’s readers. (SUF ¶ 29; Ex. 52 at 4;

Ex. 58 at 3.) But those choices were not Ditko’s to make, and Spider-Man developed into the

character we know today.

       E.      Frustrated With The Constraints On His Creative Process And Output,
               Ditko Left Marvel.

       Ultimately Ditko parted ways with Marvel in 1965, in favor of career opportunities that

accorded him more independence. (SUF ¶ 2.) He went on to work for Charlton Comics, which

was “low paying” compared to Marvel and other industry leaders but gave him “a lot more

freedom.” (Ex. 54 at 4; Ex. 59 at 3.) Ditko recalled that, despite the inferior compensation, he

“got more out of working for them in developing [his] own art style, etc. tha[n] [he] got at

Marvel, DC with their picky editors, ‘corrections,’ etc.” (Ex. 54 at 4.) Ditko later turned to self-

publishing, at which point he finally enjoyed the unchecked creative freedom he craved.

       Steve Ditko died on June 29, 2018. (Ex. 66 at 2.) Although he could have lodged his

own termination attempt as early as 2008,9 he never pursued any copyright terminations in his

lifetime. To the contrary, Ditko expressly recognized that he had no right to terminate, as



   9
     Marvel published the earliest work covered in the Notices in 1962, making the termination
window (if any) run from 2018 to 2023. See 17 U.S.C. § 304(c)(3). A termination notice can be
served up to 10 years in advance of its effective date. Id. § 304(c)(4)(A).


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memorialized in a written agreement in January 1979 acknowledging that all of the work he did

for Marvel was made for hire. (SUF ¶ 53; Ex. 23C at 24.) Ditko reiterated that view in

correspondence, writing that he understood he “had no real right to” any ideas he contributed

“when published” by Marvel. (SUF ¶ 54; Ex. 59 at 3.) Although Ditko felt a certain “[m]oral

creator[ship]” over his contributions, he recognized that the “[l]egal creator [was] Marvel

comics.” (SUF ¶¶ 53-55; Ex. 57 at 3.)

        Steve Ditko never married, had no children, and left no will. As Patrick Ditko readily

acknowledged, his brother was a very “private” person, and the two never once discussed his

work for Marvel. (Ex. 1, Patrick Ditko Dep. Tr. 21:3-9.) With no first-hand knowledge,

Defendant is in no position to question the work-made-for-hire status of Steve Ditko’s

contributions. (Ex. 1, Patrick Ditko Dep. Tr. 31:5-17) (Q: “Do you think you’re qualified, Mr.

Ditko, to testify on whether Steve Ditko’s work for Marvel from 1962 to 1966 was done on a

work made for hire basis?” A: “I have no idea, no knowledge.” Q: “Do you know what it means

to, for work to have been made on a work for hire basis?” A: “No.” Q: “Did you ever discuss

with your brother Steve whether his work for Marvel was done on a work made for hire basis?”

A: “No.”).

        F.     Defendant Served Termination Notices On MCI, Seeking To Uproot MCI’s
               Rights In And To The Works.

        Between May 28 and July 16, 2021, Defendant served four notices10 on MCI purporting

to terminate alleged grants of the domestic copyright rights in various illustrated comic book

stories to which Steve Ditko had allegedly contributed during his tenure as a Marvel freelancer.

(SUF ¶ 8.) Defendant asserts that these supposed “grants” are comprised of the language “on the


   10
       For this purpose, MCI counts both of Defendant’s notices directed at Amazing Fantasy,
Vol. l , No. 15 as a single notice.


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back of the check(s) issued by Marvel Entertainment, LLC’s predecessor company to Stephen J.

Ditko.” (Ex. 62, Counterclaim Ex. A; Ex. 78, Complaint Exs. 2-6.) Defendant, however,

produced no such checks, much less the purported language on the back of them. (SUF ¶ 57; Ex.

1, Patrick Ditko Dep. Tr. 28:12-23.)

       Because the Notices created a cloud on Marvel’s intellectual property rights, MCI

initiated the instant litigation to affirm its long-held status as author and continued owner of the

Works. MCI thus seeks a declaratory judgment that the Notices are invalid and, as such, have no

effect on MCI’s ownership of the Works.

       Defendant, in turn, filed a mirror-image counterclaim as to the claimed validity of the

Notices. Because they represent two sides of the same coin, the legal issues presented by the

Complaint and Counterclaim can be readily decided in tandem.

                                           ARGUMENT

       Summary judgment must be granted where there is “no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The

moving party may satisfy its burden by “pointing to the absence of evidence to support the

nonmovant’s claims.” Myun-Uk Choi v. Tower Rsch. Cap. LLC, 2020 WL 1503446, at *3

(S.D.N.Y. Mar. 30, 2020) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 325, 106 S. Ct. 2548,

2554 (1986)). Once the moving party meets its burden, the non-moving party must “come

forward with ‘specific facts showing that there is a genuine issue for trial.’” Matsushita Elec.

Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587, 106 S. Ct. 1348, 1356 (1986)

(emphasis in original).

       A motion for summary judgment cannot be defeated “on the basis of conjecture or

surmise.” Gottlieb v. County of Orange, 84 F.3d 511, 518 (2d Cir. 1996); see D’Antonio v.

Metro. Transp. Auth., 2010 WL 1257349, at *3 (S.D.N.Y. Mar. 31, 2010) (party cannot “escape


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summary judgment” by “vaguely asserting the existence of some unspecified disputed material

facts”). Rather, the non-moving party must bring forward “affidavits, depositions, or other

sworn evidence” showing that a genuine issue of material fact exists. Rule v. Brine, Inc., 85 F.3d

1002, 1011 (2d Cir. 1996). When “the record taken as a whole could not lead a rational trier of

fact to find for the non-moving party, there is no genuine issue for trial,” and summary judgment

is warranted. Cole v. Artuz, 1999 WL 983876, at *2 (S.D.N.Y. Oct. 28, 1999) (quoting

Matsushita, 475 U.S. at 587, 106 S. Ct. at 1356 (internal quotation marks omitted)).

        Marvel seeks summary judgment because, as the undisputed facts show, the Works were

all made for hire and thus not subject to the copyright termination regime. Courts in other cases

have consistently found that works created by Marvel’s comic book writers and artists—

including the prolific Jack Kirby—constitute works made for hire outside the reach of copyright

termination. See Kirby, 726 F.3d at 143; Marvel Worldwide, Inc. v. Kirby, 777 F. Supp. 2d 720,

725 (S.D.N.Y. 2011); In re Marvel Ent. Grp., Inc., 254 B.R. 817, 834 (D. Del. 2000). The Kirby

case in fact addressed several of the very same characters and comics at issue here.11 There is no

legal or factual basis for treating Steve Ditko’s contributions any differently. As in Kirby, the

Works here were created at Marvel’s “instance” and at Marvel’s “expense” and thus constitute

works made for hire.

        A.     The Works Were Created At Marvel’s Instance.

        The undisputed facts of this case align closely with those in Kirby. Steve Ditko had a

“close and continuous” working relationship with Marvel when the Works were created. Kirby,

726 F.3d at 141. (SUF ¶ 45.) Although he was a freelancer, Ditko was not simply hired for one-


   11
      Among the many points of overlap, Jack Kirby’s heirs served a copyright termination
notice for Issue 15 of Amazing Fantasy, which featured the first appearance of Spider-Man. (Ex.
77.) That notice was held invalid because Kirby’s contributions to it were made for hire.


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off projects here and there. Rather, as with Jack Kirby, Ditko was “kept busy with assignments

from Marvel” during the relevant time period, working predominantly for Marvel. Kirby, 726

F.3d at 141. (SUF ¶ 45.)

        Ditko did not work on “spec,” that is, creating a finished work and then looking for a

potential buyer. See Kirby, 726 F.3d at 141. (SUF ¶ 48.) At all relevant times, Marvel did not

solicit or accept work on “spec”; it sought out talent—artists and writers—not pre-made content.

(SUF ¶¶ 23, 48.) When Ditko penciled for the Works, he did so “pursuant to Marvel’s

assignment or with Marvel specifically in mind.” Kirby, 726 F.3d at 141. (SUF ¶¶ 14, 23, 31,

33, 41-42, 44.) He worked in concert with Marvel’s universe of characters and narratives at the

direction of Stan Lee or Marvel’s other editors—and indeed could not have marketed his Marvel-

centric drawings elsewhere. (E.g., SUF ¶ 43.) It was thus his “ongoing partnership with

Marvel”—and the resulting specific assignments from Marvel—that “induced” any contributions

he made. Kirby, 726 F.3d at 141. (SUF ¶¶ 23, 31-33, 39, 41, 45-46.)

        Ditko “worked within the scope of Marvel’s assignments and titles,” just like Jack Kirby

and Marvel’s other freelance artists. Kirby, 726 F.3d at 141. (SUF ¶¶ 23, 31-33, 39, 41-42.) It

was only after receiving an assignment from Marvel that Ditko would begin diving meaningfully

into his work. (SUF ¶¶ 23, 48.) The entire process was driven by Marvel, whose editors dictated

which artist would be working in which capacity on which comic book featuring which core

characters. (SUF ¶¶ 23, 31-33, 41-42.) Marvel also dictated the method pursuant to which its

artists would work: in the early years, a straightforward sequence from Stan Lee’s plot to

scripting (that is, if Lee did not write the script himself) to penciling to inking to lettering to

coloring; and later, increasingly the innovative “Marvel Method” which progressed from Stan

Lee’s plot straight to penciling and only then to dialoguing and captioning. (SUF ¶¶ 12-22.)




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       As with the works of Jack Kirby, Marvel performed a foundational “creative role” in the

creation of the Works. Kirby, 726 F.3d at 141. Marvel’s Stan Lee created or co-created most of

the characters and titles that came to define Marvel’s comic books. (SUF ¶¶ 13, 24, 40.) As

Marvel’s editor, Lee established a creative vision for what a given comic book would look like,

thought up plot lines, and dreamed new characters into existence. (SUF ¶¶ 13, 24, 40.) Stan

Lee’s imagination and his own creative contributions as Marvel’s editor thus laid the essential

groundwork for Steve Ditko’s subsequent contributions.

       Marvel generally provided its freelancers with “specific instructions” at the outset of an

assignment, shaping the work the freelancers would create. Kirby, 726 F.3d at 139; Playboy

Enters., 53 F.3d at 556. (SUF ¶¶ 13, 24, 40-41.) The editor (usually Stan Lee) would provide a

synopsis, laying out the parameters for the script or the panels to be created. (SUF ¶¶ 13, 24.)

He would instruct the contributor on what deliverable to produce—for example, 20 pages of

penciled panels for The Amazing Spider-Man or a 5-page filler story for Strange Tales. (See,

e.g., Ex. 48 at 2.) Lee would frequently also dictate the narrative arc that should animate a given

story, as well as the characters that should feature in it. (SUF ¶¶ 13, 24.) Often, the editor would

specify some of the more granular details too, whether choreographing a fight scene or dictating

the physical traits of characters or their surroundings. (SUF ¶ 24; see, e.g., Ex. 70.) Typically,

the editor would hold a plotting conference with the contributor to discuss the editor’s vision

and/or include further written notes to guide the contributor. (SUF ¶ 24; Ex. 13, Lee Kirby Dep.

Tr. 41:13-19.) And the editor or production manager would set the deadlines by which each

contributor’s work had to be completed. (SUF ¶ 21.)

       Marvel’s freelance artists were accorded certain creative freedoms within the scope of

their work—how to best manifest a plot element or build up to the climax, or the artistic style of




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the drawings. (SUF ¶¶ 14, 25; Ex. 13, Lee Kirby Dep. Tr. 20:11-21:22.) But ultimately Marvel

(again usually through Stan Lee) ran the show. (SUF ¶¶ 15, 22-26, 28-30.) Creativity, of course,

is not antithetical to an artist-for-hire’s work; to the contrary, it is central to the artist’s role.

        Indeed, work-for-hire artist Jack Kirby represented the pinnacle of creative discretion at

Marvel, but his distinctive creativity did not render him any less of a work-made-for-hire

contributor. The Second Circuit had no trouble finding that Kirby worked at Marvel’s instance,

even though it was “beyond dispute” that he “made many of the creative contributions” that

characterized the implicated works, “often thinking up and drawing characters on his own,

influencing plotting, or pitching fresh ideas.” Kirby, 726 F.3d at 126-27. As the Second Circuit

observed, “the hired party’s ingenuity and acumen are a substantial reason for the hiring party to

have enlisted him,” so the simple fact that “the hired artist indeed put his exceptional gifts to

work for the party that contracted for their benefit” cannot undercut a work-made-for-hire

finding. Kirby, 726 F.3d at 142. Even “[q]uestions of who created the characters”—which, in

any event, was routinely Stan Lee—“are mostly beside the point.” Id.

        Moreover, freelancers’ creative leeway was always subject to the oversight of Marvel’s

editors and publisher. (SUF ¶¶ 14, 22-30, 41-42, 47.) Marvel both possessed and exercised the

right to supervise the creation of the Works. (SUF ¶¶ 14, 22-30, 41-42, 47.) Marvel could and

did demand changes and even reroute assignments where an artist’s work product did not align

with Marvel’s vision or business needs. (SUF ¶¶ 23, 26, 28, 41-42.) Some changes were small,

like wordsmithing a line of dialogue or adjusting the shape of a background character’s body.

(SUF ¶¶ 26, 28; Ex. 3, Larry Lieber Dep. Tr. 133:16-25; Ex. 29, at 2-4.) Others were

fundamental, like when Lee swapped Ditko for Kirby as Spider-Man’s penciler because Lee

preferred the former’s nerdier and less glamorized depiction of the character. (SUF ¶ 41; Ex. 13,




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Lee Kirby Dep. Tr. 37:3-38:3.) On rarer occasions, Marvel could and did decide not to publish

unsatisfactory pages altogether. (SUF ¶ 27.) While Marvel gave its freelancers plenty of

creative input, ultimately Marvel held the control. (SUF ¶¶ 22, 30.)

       In addition to direct control by Marvel’s editors, artists were also subject to the control of

the publisher, who had the ultimate authority over Marvel’s operations—whether directing that a

certain type of story be made, or vetoing a character idea or story element. (SUF ¶¶ 22, 30; Ex.

13, Lee Kirby Dep. Tr. 18:17-19:17.) For example, publisher Martin Goodman famously wanted

Marvel to have its own team of Super Heroes that could rival the success of DC Comics’ then-

nascent Justice League, which prompted the creation of the Fantastic Four. (Ex. 13, Lee Kirby

Dep. Tr. 36:7-18.) Goodman also had some idiosyncratic preferences about covers, for instance,

decreeing that rats should never appear on them. (See Ex. 55 at 4.) As publisher, Goodman not

only had say at the outset, but also approved every comic book issue before publication. (SUF

¶¶ 22, 30.) He could also approve a new comic book series or cancel one. (SUF ¶¶ 22, 30; Ex.

4, Lee SLMI Dep. Tr. 124:3-125:4.)

       Steve Ditko’s work on Spider-Man exemplifies how Marvel operated during the relevant

time period—and indeed, what it looks like to work for hire. Ditko did not come up with the

Spider-Man character or even ask to work on it; he “was given the job of drawing Spider-Man”

at Stan Lee’s behest. (SUF ¶¶ 40-41; Ex. 48 at 3.) By the time Ditko was brought onto the

project, Lee had already conceived of Spider-Man—a new character who would bring

“something different” to the universe of Marvel’s comics. (SUF ¶¶ 40-41; Ex. 13, Lee Kirby

Dep. Tr. 74:6-75:5.) Lee “felt it would be fun to do a teenager who isn’t a sidekick but who is

the real hero,” and he also wanted the character to have a unique superpower that had not been

seen in other characters before. (SUF ¶ 40; Ex. 13, Lee Kirby Dep. Tr. 74:6-75:5.) Lee recalled




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struggling to “dream[] up a superpower,” when “it finally occurred to [him], a guy who could

stick to walls like an insect, crawl on a wall and stick to a ceiling.” (SUF ¶ 40; Ex. 13, Lee Kirby

Dep. Tr. 74:6-75:5.)

        Ditko got the penciling assignment for Spider-Man only after Jack Kirby tried, and failed,

to execute Lee’s vision; Kirby’s original pencils looked “a little bit too heroic” for the

“nebbishy” and “nerdy” character Lee dreamed up. (SUF ¶ 41; Ex. 13, Lee Kirby Dep. Tr. 37:3-

38:3, 75:9-11.) So Lee took Kirby off and assigned Ditko—for whom an “awkward” type of

character came more naturally—to do the principal artwork instead. (SUF ¶ 41; Ex. 13, Lee

Kirby Dep. Tr. 75:18-23.) Ditko drew the interior artwork for Spider-Man from Lee’s synopsis

and, as Ditko wrote in his own hand, “never claimed creating Spiderman.” (SUF ¶¶ 41, 54; Ex.

57 at 3.)

        Even when Marvel’s artists were more involved with a character’s origins, their

contributions were made within the scope of ongoing relationships with Marvel, in the context of

existing titles to which they were assigned to generate content, subject always to Marvel’s

supervision and editorial control. (SUF ¶¶ 22-30, 31-38, 45, 47.) This paradigm is illustrated by

the creation of Doctor Strange, whose first appearance (albeit not his backstory or name) was

crafted in large part by Ditko—but in the context of Ditko’s longstanding work on the Strange

Tales series and within the scope of his assignment from Marvel to produce a filler story for

Issue 110, just like Ditko had done for Lee countless times before. (SUF ¶¶ 31-35; Ex. 27; Ex.

31.) And to any extent Marvel’s supervisory powers were not exercised, that leeway was due to

contributors’ (including Ditko’s) prior dealings with Marvel that “rendered fine-grained

supervision unnecessary.” Kirby, 726 F.3d at 139. (SUF ¶ 47.) Contributions of this nature

readily fall within the settled work-made-for-hire framework. Indeed, no Marvel artist could lay




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claim to more character creation than Jack Kirby, who was found to be an artist-for-hire even

though he would “often think[] up and draw[] characters on his own, influenc[e] plotting, or

pitch[] fresh ideas.” Id. at 126-27.

       In sum, precisely as the Second Circuit held in Kirby, “Marvel’s inducement, right to

supervise, exercise of that right, and creative contribution with respect to [Ditko’s] work during

the relevant time period is more than enough to establish that the works were created at Marvel’s

instance.” Kirby, 726 F.3d at 141.

       B.      The Works Were Created At Marvel’s Expense.

       The undisputed facts likewise demonstrate that the Works were created at Marvel’s

“expense” in the sense relevant here. Marvel maintained consistent payment practices with its

freelancers across the 1960s, so the evidence on this prong is exactly the same as it was in Kirby.

See id. at 142-43. Each of Marvel’s freelancers was paid a flat per-page rate for the work they

performed; royalties were not part of the compensation structure. (SUF ¶¶ 49-51.) Marvel bore

the entire risk of financial loss in a comic book’s sales. (SUF ¶¶ 51-52.) Freelancers’

compensation was not contingent upon sales; whether a book was a hit or a flop, the contributing

writers and artists were paid just the same. (SUF ¶ 52.) In fact, the compensation scheme for

freelancers was so divorced from sales that Marvel did not even share its sales figures with its

writers and artists. (SUF ¶ 52; Ex. 79.)

       Marvel had an ongoing working relationship with Steve Ditko, just as it did with Kirby.

And it was in the context of this broader and longstanding relationship that Ditko made his

contributions to the subject works. (SUF ¶¶ 45-47.) He worked on assignment and was paid for

the pages he generated—by no means did he confront “materially uncertain prospects for

payment” for his work. Kirby, 726 F.3d at 142. (SUF ¶¶ 49-50, 52.) Instead, like Kirby, when

he “sat down to draw,” “it was not in the hope that Marvel or some other publisher might one


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day be interested enough in them to buy, but with the expectation, established through their

ongoing, mutually beneficial relationship, that Marvel would pay him.” Kirby, 726 F.3d at 142-

43. And as with Kirby, “in the run of assignments, this expectation proved warranted.” Id. at

143.

       Even if certain pages never made it to publication, Marvel still paid its contributors for

creating them—so long as Marvel had assigned the work, it paid the contributors their per-page

rate. (SUF ¶ 50.) As Stan Lee explained, if he asked an artist to draw a story, but Marvel later

decided not to use that story, “the artist would still keep the money because he had done the

work.” (SUF ¶ 50; Ex. 13, Lee Kirby Dep. Tr. 18:6-16.) After all, if Marvel changed its mind

about whether to publish a story, “[i]t wasn’t [the artist’s] fault.” (SUF ¶ 50; Ex. 13, Lee Kirby

Dep. Tr. 18:6-16.) The same was true if Marvel simply did not like a given artist’s interpretation

and opted to swap him out for another contributor. (SUF ¶ 50.) Indeed, there is no evidence that

Ditko was not paid for all the pages he submitted to Marvel. (SUF ¶ 50; Ex. 1, Patrick Ditko

Dep. Tr. 28:24-29:3.)

       Nor were Ditko’s drawings “free-standing creative works, marketable to any publisher as

a finished or nearly finished product.” Kirby, 726 F.3d at 143. To the contrary, those works

featured ideas and plots seeded by Stan Lee, built on themes and titles developed over Marvel’s

history, and were grounded in the Marvel universe and the suite of characters it comprised.

       It was Marvel that expended the resources to establish and market its line of titles and

characters. It was Marvel that held the rights to the characters that graced the pages of Ditko’s

drawings. It was Marvel that invested in other contributors to a given work—Ditko did not

create a complete product on his own—and managed the work flow for each comic among

writers, pencilers, inkers, and more. And it was Marvel that spearheaded the production process:




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coloring, engraving, printing, and so on. (SUF ¶¶ 12-22.) Marvel hired, directed, supervised,

coordinated, and compensated the suite of individuals who would step-by-step turn ideas into

tangible comic book series. (SUF ¶¶ 12-30, 49-50.) In short, the Works “required both creative

contributions and production work that Marvel supplied” and “[t]hat the [W]orks are now

valuable is therefore in substantial part a function of Marvel’s expenditures over and above the

flat rate it paid” per page of drawings to Ditko. Kirby, 726 F.3d at 143.

       Ditko did shoulder some of the expense attached to creation—he paid for his own

supplies like paper and pencils—but his expenditures paled in comparison to Marvel’s

investment. (SUF ¶ 52.) Of course, the same was true of Jack Kirby: it was undisputed that

Marvel “did not pay for Kirby’s supplies or provide him with office space,” yet the Second

Circuit held that his works were created at Marvel’s expense. Kirby, 726 F.3d at 142-43.

       Thus, exactly as the Second Circuit held in Kirby, “Marvel’s payment of a flat rate and its

contribution of both creative and production value, in light of the parties’ relationship as a whole,

is enough to satisfy the expense requirement.” Id. at 143. On the undisputed facts, Marvel has

thus satisfied both the instance and expense prongs of the work-made-for-hire test.

       C.      Steve Ditko And Marvel Did Not Reach A Contrary Agreement.

       Because Steve Ditko worked at Marvel’s instance and expense, “a presumption arises

that the works in question were ‘works made for hire’ under section 304(c).” Id. Defendant can

overcome that presumption only by identifying “an agreement to the contrary”—i.e., stating that

the works were not made for hire—that was entered “contemporaneous with the creation of the

works.” Id. No such contemporaneous agreement exists.

       In fact, Defendant does not have a copy of a single written agreement, much less a grant,

between Ditko and Marvel from the relevant time period. (SUF ¶ 57; Ex. 1, Patrick Ditko Dep.

Tr. 72:15-19.) Rather, Defendant merely extrapolates from the legends on the back of


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paychecks, from outside the relevant time period, provided to other artists featuring catch-all

language about Marvel’s ownership of the copyright, including statements that any copyright

was assigned to Marvel. To be clear, Defendant has not identified any paychecks provided to

Steve Ditko in particular. (SUF ¶ 57; Ex. 1, Patrick Ditko Dep. Tr. 28:12-23.) But even if some

or all of his paychecks included the same legends, the Second Circuit already held in Kirby that

such legends were merely belt-and-suspenders language, not mutual agreements contrary to

work-made-for-hire status: “It is all too likely that, if the parties thought about it at all, Kirby’s

assignments at the time he was paid or later were redundancies insisted upon by Marvel to

protect its rights; we decline to infer from Marvel’s suspenders that it had agreed to give Kirby

its belt.” Kirby, 726 F.3d at 143. The same analysis applies here.

                                           *       *       *

        The instance and expense test yields a clear result in this case: Steve Ditko made his

contributions to the Works on a work-made-for-hire basis. And because his contributions were

works made for hire, they are statutorily exempt from termination. 17 U.S.C. § 304(c).

Defendant’s termination notices are thus invalid.

        Just as noteworthy as the factors that bear on the work-made-for-hire analysis are those

that do not. This case is not about the value of or artistry behind Ditko’s work; working for hire

does not demean one’s talents. MCI does not contest Ditko’s skill with a pencil or his knack for

storytelling. Nor does MCI disagree that Ditko added value to its repertoire of comics over the

years. Defendant’s emphasis on Ditko’s talents and the import of his work is, for the inquiry at

hand, nothing more than a distraction. Indeed, so are the equities of the deal that Ditko originally

struck; work performed at the instance and expense of the hiring party is work made for hire, no

matter “how[] unbalanced and under-remunerative to the artist” that relationship may be (though,




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to be clear, freelancing for Marvel offered a steady middle-class living for regular contributors).

Kirby, 726 F.3d at 141. (See Ex. 1, Patrick Ditko Dep. Tr. 153:3-6.)

       The central issue in this litigation—and the one now before this Court—is remarkably

narrow. And it requires no value judgment on Steve Ditko’s worth. As the Kirby Court rightly

pronounced, it is “beyond question” that “Marvel owes many of its triumphs” to its freelance

contributors. 726 F.3d at 142. It is equally beyond question that those artists made their skilled

contributions on a work-for-hire basis. Steve Ditko worked both at Marvel’s instance and at

Marvel’s expense, putting the core of this litigation to rest.

                                          CONCLUSION

       For the foregoing reasons, MCI’s Motion for Summary Judgment should be granted.

Judgment should be entered in favor of MCI and against Defendant on the Complaint and the

Counterclaim in their entirety.




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Dated: May 19, 2023                   O’MELVENY & MYERS LLP



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